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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                             CINCINNATI DIVISION



HUNTER DOSTER, et al.,
                            Plaintiffs,                           No. 1:22-cv-00084
                                                             Hon. Matthew W. McFarland
       v.
FRANK KENDALL, et al.,


                            Defendants.



            DEFENDANTS’ NOTICE OF DR. MARKS’ MOTION TO QUASH

       Defendants file this notice to inform the Court and Plaintiffs that Dr. Peter Marks

has moved to quash Plaintiffs’ December 20, 2022 notice seeking his deposition and

which contained a request directed to him (not to any party in this case) to produce cer-

tain documents. Pursuant to the jurisdictional provisions Rule 45, Dr. Marks, who is not

a party to this action, filed his motion to quash in the United States District Court for the

District of Maryland, which is the court for the district where he was directed to comply.

A copy of Dr. Marks’ motion, the memorandum in support, and supporting documents

are being filed along with this notice.




Dated: February 2, 2023                   Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General
                                          Civil Division


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                                   ALEXANDER K. HAAS
                                   Director, Federal Programs Branch

                                   ANTHONY J. COPPOLINO
                                   Deputy Branch Director
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                              CERTIFICATE OF SERVICE


       On February 2, 2023, I electronically submitted the foregoing document using the

Court’s electronic case filing system. I hereby certify that I have served all parties elec-

tronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).




                                                 /s/ Zachary A. Avallone
                                                 Zachary A. Avallone
                                                 Trial Attorney
                                                 U.S. Department of Justice
